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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

IN RE:                                              §         Case No. 22-60020
                                                    §
INFOW, LLC, et al.,                                 §         Chapter 11 (Subchapter V)
                                                    §
       Debtors1                                     §         Jointly Administered

               EXPEDITED REQUEST FOR STATUS CONFERENCE

    This motion seeks an order that may adversely affect you. If you
    oppose the motion, you should immediately contact the moving party
    to resolve the dispute. If you and the moving party cannot agree, you
    must file a response and send a copy to the moving party. You must file
    and serve your response within 21 days of the date this was served on
    you. Your response must state why the motion should not be granted.
    If you do not file a timely response, the relief may be granted without
    further notice to you. If you oppose the motion and have not reached
    an agreement, you must attend the hearing. Unless the parties agree
    otherwise, the court may consider evidence at the hearing and may
    decide the motion at the hearing.

    Represented parties should act through their attorney.

    Emergency relief has been requested. If the Court considers the
    motion on an emergency basis, then you will have less than 21 days to
    answer. If you object to the requested relief or if you believe that the
    emergency consideration is not warranted, you should file an
    immediate response.

    Relief is requested on or before May 11, 2022.

       David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole

Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto,

Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker




1 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are as follows: InfoW, LLC f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a
Infowars Health, LLC (no EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is
PO Box 1819, Houston, TX 77251-1819.




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(collectively, Movants or Connecticut Plaintiffs) file this Expedited Request for Status

Conference and provide the Court with the following information and update:

                      REQUEST FOR EMERGENCY CONSIDERATION

       The Connecticut Plaintiffs dismissed their claims against the Debtors, are no

longer creditors of the Debtors, and no longer wish to participate in these bankruptcy

cases. But the Debtors, against their own interest, objected to being dismissed and want

to continue to prosecute the bankruptcy cases for the benefit of Alex Jones and Free

Speech. Such conduct is clear evidence that these cases are not about these Debtors and

their interests and are nothing more than a ruse to protect parties who have not sought

relief under title 11, specifically Alex Jones and Free Speech. The Connecticut Plaintiffs

request an expedited status conference to bring these issues before the Court.

       Because the Connecticut Plaintiffs are no longer creditors of the Debtors, the

Connecticut Plaintiffs intended to file a notice of their withdrawal of their Motion to

Dismiss and cease their participation in these cases. The withdrawal of their Motion to

Dismiss would sharply narrow the dispute(s) before the Court in these cases. However,

while working on the withdrawals, counsel was served with the Debtors’ Objections to

Dismissal, attached hereto. With the Connecticut Plaintiffs’ claims against the Debtors

having been dismissed, there should be no further reason to jeopardize the Connecticut

Plaintiffs’ August 2022 trial date and force them to incur additional expenses litigating in

a forum where they are not creditors. The Connecticut Plaintiffs respectfully request a

status conference at the Court’s earliest convenience.




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                                RELEVANT BACKGROUND

       1.     The Connecticut Plaintiffs filed multiple lawsuits against the Debtors and

others in the Judicial District of Fairfield at Bridgeport, Connecticut in 2018.       On

March 8, 2019, this litigation was ordered to the Complex Litigation Docket of Waterbury

under Case Nos. UWY-CV18-6046436S, UWY-CV18-6046437S, and UWY-CV18-

6046438S, respectively, and was consolidated (globally, the Connecticut Litigation).

       2.     On April 17, 2022, Debtor InfoW, LLC (fka InfoWars, LLC) filed a voluntary

petition for relief under chapter 11, subchapter V, of the Bankruptcy Code.            On

April 18, 2022, IWHealth, LLC and Prison Planet TV, LLC filed their petitions for relief

under the Bankruptcy Code. The Debtors’ chapter 11 cases are being jointly administered

pursuant to the Court’s Order for Joint Administration [Dkt. 8].

       3.     The Connecticut Plaintiffs filed an Emergency Motion to Dismiss Chapter 11

Cases and Objection to Debtors’ Designation as Subchapter V Small Vendors on April 26,

2022 [Dkt. 36] (Motion to Dismiss). During a status conference on April 29, 2022, the

Court set the Connecticut Plaintiffs’ Motion to Dismiss, along with two others, for hearing

on May 27, 2022 at 9:00 a.m.

       4.     After careful consideration of the Debtors’ filings and the comments and

questions of this Court, on May 2, 2022, the Connecticut Plaintiffs filed Notices of

Dismissal of Claims against Removing Defendants InfoW, LLC (fka InfoWars, LLC),

Infowars Health, LLC (aka IWHealth, LLC) and Prison Planet TV, LLC in the Connecticut

Litigation (the Dismissals of Connecticut Claims). The Dismissals of Connecticut Claims

were filed pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and Fed. R.

Bankr. P. 7041. True and correct copies of the Dismissals of Connecticut Claims are

attached as Exhibit A. Like a notice of non-suit filed under the Texas Rules of Civil



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Procedure, a Rule 41(a)(1)(A)(i) dismissal operates automatically when filed; no court

action is required for the dismissal to be effective.                  See, e.g., Thorp v. Scarne,

599 F.2d 1169, 1171 n.1 (2d Cir. 1979) (“The law is settled that the filing of a notice of

dismissal under Rule 41(a)(1)(i) automatically terminates the lawsuit. No action by the

court is necessary to effectuate the dismissal.”).

        5.      Instead of accepting and welcoming the Dismissals of Connecticut Claims

as providing the relief from litigation they claimed to be seeking, on May 3, 2022, the

Debtors filed Objections and Notices of Intent to File More Particular Responses to the

Notices of Voluntary Dismissal filed by the Plaintiffs (the Debtor Objections to

Dismissals). True and correct copies of the Debtor Objections to Dismissal are attached

as Exhibit B.2

        6.      As stated above, the Connecticut Plaintiffs dismissed these Debtors because

participating in these bankruptcy cases will divert vast resources and frustrate their true

purpose, which is to proceed to try their cases against Alex Jones and Free Speech

Systems, LLC. Significant resources would need to be devoted by the Connecticut

Plaintiffs to prosecute their Motion to Dismiss currently set for hearing on May 27, 2022.

However, they cannot cease participation in these cases because, against their own

interest, the Debtors contest the Dismissals of the Connecticut Claims. Preparation for

the May 27 hearings on the Motion to Dismiss will be time consuming and costly. The

Connecticut Plaintiffs respectfully request a status conference as soon as possible in the

hopes of not incurring additional expenses related to hearing preparation.




2The filing of the Debtor Objections to Dismissal is against the interest of the Debtors, showing once again
that this bankruptcy is being used for the ulterior purposes of third parties.




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       7.      The Connecticut Plaintiffs believe expedited consideration is warranted

given the Debtors’ highly unusual response to no longer being a party to litigation in

Connecticut.

                                         PRAYER

       For these reasons, the Connecticut Plaintiffs respectfully ask the Court to schedule

a status conference in these cases at its earliest convenience.

       Respectfully submitted this 6th day of May 2022.


                                                 /s/ Ryan E. Chapple
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                                          281-884-9262
                                          ATTORNEYS FOR
                                          CONNECTICUT PLAINTIFFS

                            CERTIFICATE OF ACCURACY

      I hereby certify that the foregoing statements are true and accurate to the best of
my knowledge and belief. This statement is being made pursuant to Bankruptcy Local
Rule 9013-1(i).

                                                /s/ Ryan E. Chapple
                                          Ryan E. Chapple




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                        CERTIFICATE OF CONFERENCE

      I hereby certify, as counsel for Movants, my firm has attempted to confer with
Debtors’ counsel, and Debtors’ counsel has not responded to the conference request.

                                               /s/ Ryan E. Chapple
                                       Ryan E. Chapple

                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Request for Status
Conference has been served on counsel for Debtors, Debtors, and all parties receiving or
entitled to notice through CM/ECF on this 6th day of May 2022.


                                              /s/ Ryan E. Chapple
                                        Ryan E. Chapple




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